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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23-CV-00197-WTM-CLR

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for Robert Hemminger
was recieved by me on 7/22/2023:

(J | personally served the summons on the individual at 117 QUARTERHORSE OR, GUYTON, GA 31312 on 07/23/2023
at 4:15 PM; or

Oo | left the summons at the individual's residence or usual place of abode with (name) . a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

Oo | served the summons on {nase of individual) , who is designated by law to accept service of process on behalf of (name
of organization); or

Co | relurned the summons unexecuted because ; or

O Other (specify)

My fees are $ 0 for travel and $ 235.00 for services, for a total of $ 235.00.

| declare under penalty of perjury that this information is true.

DateO-] \2 uy \poas

“Wut Haan e

Server's sagnatura

TAMMY HAMILTON

Prnted name and hue

15 Kandlewood Drive
B
Savannah, GA 31406

Server's address

Additional information regarding attempted service, etc:

| delivered the documents to Robert Hemminger with identity confirmed by subject saying yes when named. The
individual accepted service with direct delivery. The individual appeared to be a brown-haired white male contact 35-
45 years of age, 5°8"-5'10" tall and weighing 200-240 Ibs with glasses and a goatee.

—___ Tracking #:.0110771875

